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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

LEAGUE OF UNITED LATIN                     §
AMERICAN CITIZENS, et al.,                 §
                                           §
              Plaintiffs,                  §
                                           §
EDDIE BERNICE JOHNSON, et al.,             §
                                           §
                                                 EP-21-CV-00259-DCG-JES-JVB
              Plaintiff-Intervenors,       §
                                                         [Lead Case]
v.                                         §
                                           §
GREG ABBOTT, in his official capacity as   §
Governor of the State of Texas, et al.,    §
                                           §
              Defendants.                  §


TEXAS STATE CONFERENCE OF THE              §
NAACP,                                     §
                                           §
              Plaintiff,                   §
v.                                         §
                                               Case No. 1:21-CV-01006-RP-JES-JVB
                                           §
                                                        [Consolidated Case]
GREG ABBOTT, in his official capacity as   §
Governor of the State of Texas, et al.,    §
                                           §
              Defendants.                  §


FAIR MAPS TEXAS ACTION                     §
COMMITTEE, et al.,                         §
                                           §
              Plaintiffs,                  §
v.                                         §   Case No. 1:21-CV-01038-RP-JES-JVB
                                           §            [Consolidated Case]
GREG ABBOTT, in his official capacity as   §
Governor of the State of Texas, et al.,    §
                                           §
              Defendants.                  §
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                                             ORDER

       As part of their amended complaints, Texas NAACP, Fair Maps, and LULAC Plaintiffs

identify members of their associations that they contend live in challenged districts and would

have standing to sue in their own right. ECF Nos. 321, 322, and 326. Plaintiffs request that the

Court seal only the names of those individuals. ECF Nos. 321, 322, and 326. Defendants

oppose that request. ECF No. 328.

       In part, Plaintiffs argue that sealing the names of association members is warranted

because their members face credible risks of violence and intimidation. On this, the Court is of

the opinion that Plaintiffs should be permitted to further develop the record. Additional

evidence, such as affidavits, may assist the Court in resolving this dispute.

       Accordingly, IT IS ORDERED that Texas NAACP, Fair Maps, and LULAC Plaintiffs

MAY SUPPLEMENT their current briefing on the relevant motions with evidence supporting

their arguments. Such evidence SHALL BE FILED by June 22, 2022, and such evidence may

be filed under seal. Evidence filed under seal SHALL BE DELIVERED to Defendants under

the provisions of the “Consent Confidentiality and Protective Order” (ECF No. 202).

Defendants MAY FILE, by June 29, 2022, a response addressing additional evidence.

       So ORDERED and SIGNED this 15th day of June 2022.



                                                  ____________________________________
                                                  DAVID C. GUADERRAMA
                                                  UNITED STATES DISTRICT JUDGE

                                         And on behalf of:

 Jerry E. Smith                                               Jeffrey V. Brown
 United States Circuit Judge                     -and-        United States District Judge
 U.S. Court of Appeals, Fifth Circuit                         Southern District of Texas
